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       September 16, 2021

       BY ECF
       Honorable Brian M. Cogan
       United States District Judge for the
        Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York, 11201

       Re: United States v. Colinford Mattis, 20 Cr. 00403 (BMC)

       Your Honor:

               With consent of the government, I write to request a two-week adjournment of the motion
       deadline of September 17, 2021. Granting the requested extension of time (to October 1, 2021),
       will allow the parties to possibly continue and hopefully complete plea discussions. The
       government has requested that plea negotiations conclude prior to the filing of pre-trial motions,
       and the parties hope to do just that.

               As motions remain pending, time under the Speedy Trial Act is properly excluded pursuant
       to Title 18, United States Code, section 3161(h)(8)(A). Excluding time will best serve the ends of
       justice and outweigh the best interests of the public and the defendant in a speedy trial, because it
       will allow the government and defense counsel to continue discussions regarding a possible
       disposition in the matter.

              We thank the Court for its time and consideration of this request.

                                              Respectfully submitted,

                                              /s/Sabrina P. Shroff
                                              Counsel to Colin Mattis


       cc: all counsel
